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4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,               No. 2:15-cr-190-GEB
8                 Plaintiff,
9         v.                                 ORDER
10   JOHN MICHAEL DICHIARA, et. al.,
11                Defendants.
12

13              Defendant John Dichiara insists that the Court conduct

14   voir dire concerning religious issues he indicates are involved

15   in this case exactly as he states in his untimely submitted

16   proposed   voir   dire.    The   United   States   responds   to   Dichiara

17   arguing:

18              [it] does not believe that inquiry into the
                prospective   jurors’   personal   religious
19              beliefs and practices is appropriate voir
                dire in this case. Voir dire by the Court or
20              counsel as to whether the jurors’ religious
                beliefs or practices would affect their
21              ability to impartially consider the evidence
                and follow the law is sufficient to ensure a
22              fair and unbiased jury, without inquiry into
                the specifics of the jurors’ beliefs or
23              practices.
24   Gov’t. Resp. to Court’s Proposed Voir Dire (“Gov’t. Resp.”), 2:2-

25   6, ECF NO. 242.

26        It is unclear whether Dichiara understands the purpose of

27   voir dire.   ”The principal purpose of voir dire is to probe each

28   prospective juror's state of mind to enable the trial judge to
                                         1
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1    determine actual bias and to allow counsel to assess suspected

2    bias or prejudice.”               Darbin v. Nourse, 664 F.2d 1109, 1112–13

3    (9th Cir. 1981).           Even where concepts of religion are involved in

4    a case, the voir dire questioner should not should not lose sight

5    of this purpose.

6                 The scope of the voir dire Dichiara appears aimed at

7    attempting to select potential jurors that will understand and

8    accept   his       theory    of    defense.       The     Court      has    discretion     to

9    decline to ask a proposed voir dire question when the purpose for

10   asking that question is to inquire whether a potential juror will

11   accept a party’s theory of defense or offense. See United States

12   v. Toomey, 764 F.2d 678, 683 (9th Cir. 1985) (“a defendant is not

13   [] entitled to test the jurors on their capacity to accept his

14   theory of the case”);              see also United States v. Brown, 935 F.2d

15   276 (9th Cir. 1991)(“We have repeatedly held that a court need

16   not   make     a    defendant’s       theory      of    the    case    the       subject   of

17   mandatory voir dire”); DeLaCruz v. Atchison, T. & S. F. Ry. Co.,

18   405 F.2d 459, 462 (5th Cir. 1968)(“Rather, the district court,

19   whose discretion is broad in this area, might well feel that this

20   was but a subtle attempt on counsel's part to lay a foundation
21   for his case.”).

22                Lastly,        the   United    States      argues       that    in    light   of

23   Dichiara’s apparent insistence to ask questions not designed to

24   accomplish      the    purpose       of   voir    dire,       that    the    court   should

25   conduct a conference on the matter at the beginning of trial

26   scheduled to begin tomorrow.                  This request is denied.                 It is
27   obvious that the parties have had ample opportunity to assist the

28   judge    with       voir     dire.        Further,      in     light        of    Dichiara’s
                                                   2
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1    persistence   in   seeking   to   ask   questions   not   germane   to   the

2    purposes of voir dire, the court is considering conducting all

3    voir dire itself to the extent permissible under Federal Rule of

4    Criminal Procedure Rule 24(a).

5              Dated:    September 11, 2017

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